Case: 1:22-cv-03674 Document #: 1-4 Filed: 07/15/22 Page 1 of 3 PagelD #:50

EXHIBIT C
Case: 1:22-cv-03674 Document #: 1-4 Filed: 07/15/22 Page 2 of 3 PagelD #:51
12/11/21, 1:26 PM WHOIS Domain Lookup by Shopify | WHOIS Lookup

Domain Name: WESTSIDELEND.COM

Registry Domain ID: 2515788964 _DOMAIN_COM-VRSN

Registrar WHOIS Server: whois.namecheap.com

Registrar URL: http: //www.namecheap.com

Updated Date: 2021-03-18T06: 25: 36Z

Creation Date: 2026-04-17T18:11:17Z

Registry Expiry Date: 2022-@4-177T18:11:17Z

Registrar: NameCheap, Inc.

Registrar IANA ID: 1868

Registrar Abuse Contact Email: abuse@namecheap.com

Registrar Abuse Contact Phone: +1.6613102107

Domain Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited

Name Server: NS-116.AWSDNS-14.COM

Name Server: NS-1396.AWSDNS-46.ORG

Name Server: NS-2020.AWSDNS-60.CO.UK

Name Server: NS-553,AWSDNS-@5 .NET

DNSSEC: unsigned

URL of the ICANN Whois Inaccuracy Complaint Form: https://www.icann.org/wicf/
>>> Last update of whois database: 2021-12-11T08:31:44Z <<<

For more information on Whois status codes, please visit https://icann.org/epp

NOTICE: The expiration date displayed in this record is the date the
registrar's sponsorship of the domain name registration in the registry is
currently set to expire. This date does not necessarily reflect the expiration
date of the domain name registrant's agreement with the sponsoring

registrar. Users may consult the sponsoring registrar's Whois database to
view the registrar's reported date of expiration for this registration.

TERMS OF USE: You are not authorized to access or query our Whois

database through the use of electronic processes that are high-volume and
automated except as reasonably necessary to register domain names or
modify existing registrations; the Data in VeriSign Global Registry
Services’ ("VeriSign") Whois database is provided by VeriSign for
information purposes only, and to assist persons in obtaining information
about or related to a domain name registration record. VeriSign does not
guarantee its accuracy. By submitting a Whois query, you agree to abide

by the following terms of use: You agree that you may use this Data only
for lawful purposes and that under no circumstances will you use this Data
to: (1) allow, enable, or otherwise support the transmission of mass
unsolicited, commercial advertising or solicitations via e-mail, telephone,
or facsimile; or (2) enable high volume, automated, electronic processes
that apply to VeriSign (or its computer systems). The compilation,
repackaging, dissemination or other use of this Data is expressly
prohibited without the prior written consent of VeriSign. You agree not to
use electronic processes that are automated and high-volume to access or
query the Whois database except as reasonably necessary to register

domain names. or modify existing registrations. VeriSign reserves the right
to restrict your access to the Whois database in its sole discretion to ensure
operational stability. VeriSign may restrict or terminate your access to the
Whois database for failure to abide by these terms of use. VeriSign
reserves the right to modify these terms at any time.

The Registry database contains ONLY .COM, .NET, .EDU domains and
Registrars.

Domain name: westsidelend. com

Registry Domain ID: 2515788964 DOMAIN _COM-VRSN

Registrar WHOIS Server: whois.namecheap.com

Registrar URL: http://www.namecheap.com

Updated Date: 2021-03-187T@6:25:36.39Z

Creation Date: 2020-@4-17T18:11:17.0@Z

Registrar Registration Expiration Date: 2022-@4-17118:11:17.60Z
Registrar: NAMECHEAP INC

https:/Avww.shopify.com/tools/whois/search?query=westsidelend.com 1/2
Case: 1:22-cv-03674 Document #: 1-4 Filed: 07/15/22 Page 3 of 3 PagelD #:52

12/11/21, 1:26 PM

WHOIS Domain Lookup by Shopify | WHOIS Lookup

Registrar IANA ID: 1068

Registrar Abuse Contact Email: abuse@namecheap.com

Registrar Abuse Contact Phone: +1.9854014545

Reseller: NAMECHEAP INC

Domain Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Registry Registrant ID:

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Registrant
Registrant

Name: Redacted for Privacy

Organization: Privacy service provided by Withheld for Privacy ehf
Street: Kalkofnsvegur 2

City: Reykjavik

State/Province: Capital Region

Postal Code: 101

Country: IS

Phone: +354.4212434

Phone Ext:

Fax:

Fax Ext:

Email: 77b95494b8984867bf9183bfbe43e2c7.protect@withheldforprivacy.com

Registry Admin ID:

Admin Name: Redacted for Privacy

Admin Organization: Privacy service provided by Withheld for Privacy ehf
Admin Street: Kalkofnsvegur 2

Admin City: Reykjavik

Admin State/Province: Capital Region

Admin Postal Code: 101

Admin Country: IS

Admin Phone: +354.4212434

Admin Phone Ext:

Admin Fax:

Admin Fax Ext:

Admin Email: 77b95494b8984807bf9183bfbe43e2c7.protect@withheldforprivacy.com
Registry Tech ID:

Tech Name: Redacted for Privacy

Tech Organization: Privacy service provided by Withheld for Privacy ehf
Tech Street: Kalkofnsvegur 2

Tech City: Reykjavik

Tech State/Province: Capital Region

Tech Postal Code: 101

Tech Country: IS

Tech Phone: +354.4212434

Tech Phone Ext:

Tech Fax:

Tech Fax Ext:

Tech Email: 77b95494b8984807bf9183bfbe43e2c7. protect@withheldforprivacy.com
Name Server: ns-553.awsdns-@5.net

Name Server: ns-116.awsdns-14.com

Name Server: ns~1396.awsdns-46.org

Name Server: ns-262@.awsdns-60.co.uk

DNSSEC: unsigned

URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2021-12-11T02:22:27.04Z <<<

For more information on Whois status codes, please visit https://icann.org/epp

_View less information |

https://www.shopify.com/tools/whois/search? query=westsidelend.com

2/2
